 

Case 1:21-cv-11831-PBS Document 1-3 Filed 11/10/21 Page 1 of 46

 

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WYNN & WYNN.

ATTORNEYS

John D. Bowen*
Michael R. Mancinelli
Shannon Nealon*
John J. O'Day, Jr.
Raymond C. Pelote*
Thomas E, Pontes
William Rosa*

Paul E Wynn

Thomas J. Wynn

Of Counsel
Keough & Sweeney
William E. O’Keefe

Admitted:
*Massachusetts and Rhode Island

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October 5, 2021
Via Certified Mail
Return Receipt No. 7020 1810 0002 1681 0270
USPS Tracking No. 9590 9402 6525 0346 4821 37

U.S. Attorney’s Office

District of Massachusetts

John Joseph Moakley United State Federal Courthouse
1 Courthouse Way, Suite 9200

Boston, MA 02210

RE: St. Anne’s Credit Union of Fall River, Mass.
Vv. Raymond Silva, Jr., et al
C.A. No. 2173 CV 00703

Dear Sir/Madam:

Enclosed please find the following documents:
Copy of Summons;

Civil Tracking Order;

Civil Action Cover Sheet; and
Complaint with Exhibits.

PWNS

Please note that these documents are also being served upon the Internal
Revenue Service by the Suffolk County Sheriff’s Office as indicated below:

Internal Revenue Service
J.F. Kennedy Post Office
15 New Sudbury Street
Boston, MA 02203

If you have any questions, please contact me at your earliest opportunity.

 

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RCP/pmk
Enclosures
cc: Mikaela J. Flanagan, Loss Mitigation Specialist

90 New State Highway | Raynham, MA 02767 | (508) 823-4567 | (800) 852-5211 | FAX: (508) 822-4097 | wynnandwynn.com
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Commonwealth of Massachusetts

BRISTOL, SS. TRIAL COURT OF THE COMMONWEALTH
; SUPERIOR COURT DEPARTMENT
CIVIL DOCKET NO. 2173 CV_00703

St. Anne's Credit Union
of Fall River, Mass. , PLAINTIFF(S),
v.

Raymond Silva, Jr., et gdrenpanti(s)

 

SUMMONS
THIS SUMMONS IS DIRECTED TO Internal Revenue Service . (Defendant’s name)

You are heing sued. The Plaintiff(s} named above has started a lawsuit against you. A copy of the
Plaintiff's Complaint filed against you is attached to this summons and the original complaint has been
filed inthe Bristol County Supoourt, you MUST ACT PROMPTLY TO PROTECT YOUR RIGHTS.

You must respond to this lawsuit in writing within 20 days. If you do not respond, the court may decide

the case against you and award the Plaintiff everything asked for in the complaint. You will also lose the’

opportunity to tell your side of the story. You must respond to this lawsuit in writing even if you expect

to resolve this matter with the Plaintiff. If you need more time to respond, you may request an

extension of time in writing from the Court. .

How to Respond. To respond to this lawsuit, you must file a written response with the court and mail a

copy to the Plaintiff's Attorney (or the Plaintiff, if unrepresented}. You can do this by:;Bristol County .
a. Filing your signed originat response with the Clerk's Office for Civil Business, ouperior Court, 441 County Street

(address), by mail or in person, AND ist Floor, New Bedford, MA 02740

b. Delivering or mailing a copy of your response to the Plaintiff’s Attorney/Plaintiff at the following

address: Raymond C. Pelote, Esq., Wynn & Wynn, P.C., 90 New State Highway, Raynham, MA

What to include in your response. An “Answer” is one type of response to a Complaint. Your Answer 02767

must state whether you agree or disagree with the fact(s) alleged in each paragraph of the Complaint.

Some defenses, called affirmative defenses, must be stated in your Answer or you may lose your right to

use them in court. If you have any claims against the Plaintiff (referred to as counterclaims) that are

based on the same facts or transaction described in the Complaint, then you must include those claims

in your Answer. Otherwise, you may lose your right to sue the Plaintiff about anything related to this

lawsuit. [f you want to have your case.heard by a jury, you must specifically request a jury trial in your

Answer or in a written demand for a jury trial that you must send to the other side and file with the

court ne more than 10 days after sending your Answer, You can also respond to a Complaint by filing a

“Motion to Dismiss,” if you believe that the complaint is legally invalid or legally insufficient. A Motion

to Dismiss must be based on one of the legal deficiencies or reasons listed under Mass, R. Civ. P, 12. If

you are filing a Motion to Dismiss, you must also comply with the filing procedures for “Civil Motions”

described in the rules of the Court in which the complaint was filed, available at

www.mass.gov.courts/case-legal-res/rules of court.

 

 
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Legal Assistance. You may wish to get legal help from a lawyer. If you cannot get legal help, some basic
information for people who represent themselves is available at www.mass.gov/courts/selfhelp.
Required information on all filings: The “civil docket number” appearing at the top of this notice is the
case number assigned to this case and must appear on the front of your Answer or Motion.to Dismiss.
You should refer to yourself as the “Defendant.”

Witness Hon. Judith Fabricant, Chief Justiceon October 4, —_,2021_, (SEAL)

Marc J. Santos
Clerk-Magistrate

Note: The number assigned to the Camplaint by the Clerk-Magistrate at the beginning of the lawsuit should be indicated on the
summons before it Is served on the Defendant.

PROOF OF SERVICE OF PROCESS

| hereby certify that on ,20__, 1 served a copy of this summons,
together with a copy of the complaint in this action, on the defendant named in this surmmons, in the .

following manner (See Mass. R. Civ. P. 4 (d)(1-5)):

 

 

 

Signature:

 

Dated: 20

N.B. TO PROCESS SERVER:

PLEASE ENTER THE DATE THAT YOU MADE SERVICE ON THE DEFENDANT IN THIS BOX — BOTH
ON THE ORIGINAL SUMMONS AND ON THE COPY OF THE SUMMONS SERVED ON THE DEFENDANT.

 

 

 

 
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DOCKET NUMBER

CIVIL TRACKING ORDER

(STANDING ORDER 1- 88) 2173CV00703

 

Trial Court of Massachusetts
The Superior Court

 

 

CASE NAME:

St Anne's Credit Union of Fall River, Mass vs. Silva, Jr., Raymond et al

Marc J. Santos, Clerk of Court
Bristol County

 

TO: Raymond Crosby Pelote, Esq.
Wynn and Wynn P.C.
90 New State Highway
Raynham, MA 02767

COURT NAME & ADDRESS

441 County Street, 1st floor
New Bedford, MA 02740

 

Bristol County Superior Court - New Bedford

 

TRACKING ORDER - F - Fast Track

You are hereby notified that this case is on the track referenced above as per Superior Court Standing

Order 1-88. The order requires that the various stages of litigation described below must be completed not later

than the deadlines indicated.

STAGES OF LITIGATION

DEADLINE

 

SERVED BY FILED BY

 

 

Service of process made and return filed with the Court

 

 

01/03/2022

 

Response to the compiaint filed (also see MRCP 12)

02/01/2022

 

All motions under MRCP 12, 19, and 20

02/01/2022 03/03/2022

HEARD BY

04/04/2022

     

     
   
   
          

 

All motions under MRCP 15

02/01/2022 03/03/2022

  

  

 

depositions completed

All discovery requests and depositions served and non-expert

08/01/2022

 

All motions under MRCP 56

   

08/30/2022 09/29/2022

 

 

 

Final pre-trial conference held and/or firm trial date set

 

Case shall be resolved and judgment shall issue by

 

410/04/2023

04/04/2022

01/27/2023

  

   
 
 
 
    
 
   
 
    

 

 

The final pre-trial deadline is not the scheduled date of the conference. You will be notified of that date at a later time.

Counsel for piaintiff must serve this tracking order on defendant before the deadline for filing return of service.

This case is assigned to

 

 

DATE ISSUED ASSISTANT CLERK

10/04/2021 Dina Swanson

PHONE

(508)996-2051

 

 

Date/Time Printed: 10-04-2021 14:42:13

SCV026\ 08/2018

 
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DOCKET NUMBER Trial Court of Massachusetts
CIVIL ACTION COVER SHEET The Superior Court
CouNTY | BRISTOL
Plaintiff St. Anne's Credit Union of Fall River, Mass. Defendant: Raymond Silva, Jr.
ADDRESS: 585 State Road ADDRESS: _Q Morningside Avenue, Acushnet, MA 02743
Dartmouth, MA 02747 Michelle Silva
54 Calumet Street, New Bedford, MA 02744
Plaintiff Attorney: Raymond C. Pelote Katharine Messier
ADDRESS: Wynn & Wynn, P.C. 50 Breakneck Hill Road, Lincoln, RI 02865
90 New State Highway Internal Revenue Service, J.J. Kennedy Post Office
Raynham, MA 02767 15 New Sudbury Street, Boston, MA 02203
BBO: 655475 BBO:
TYPE OF ACTION AND TRACK DESIGNATION (see instructions section below)
CODE NO. TYPE OF ACTION (specify) TRACK HAS A JURY CLAIM BEEN MADE?
A14 Interpleader action F L] ves NO
*{f "Other" please describe:
Is there a claim under G.L. c. 938A? , Is there a class action under Mass. R. Civ. P. 23?
[_] YES NO []yYes  [X] No

STATEMENT OF DAMAGES PURSUANT TO G.L. c. 212, § 3A

The following is a full, itemized and detailed statement of the facts on which the undersigned plaintiff or plaintiff's counsel relies to determine money damages.
For this form, disregard double or treble damage claims; indicate single damages only.
TORT CLAIMS

A. Documented medical expenses to date

1. Total hospital expenses

2. Total doctor expenses

3. Total chiropractic expenses

4. Total physical therapy expenses

5. Total other expenses (describe below)

[

B. Documented lost wages and compensation to date

 

Subtotal (1-5): $0.00

C. Documented property damages to date

D. Reasonably anticipated future medical and hospital expenses
E. Reasonably anticipated lost wages

F. Other documented items of damages (describe below)

L |

TOTAL (A-F): $0.00

 

G. Briefly describe plaintiff's injury, including the nature and extent of injury:

| | J

CONTRACT CLAIMS
[| This action includes a claim involving collection of a debt incurred pursuant to a revolving credit agreement. Mass. R. Civ. P. 8.1(a).

 

 

Item # Detailed Description of Each Claim Amount

 

 

1. Interpleader action to disburse surplus proceeds from a foreclosure sale. $65,178.67
an Total) $65,178.67

 

 

 

 

 

 

AL 1 F | | Date: September 30, 2021

 

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Signature of Attorney/Unrepresented Plaintiff: X

 

RELATED ACTIONS: Please provide the case numbef, case t name, and county of any related actions pending in the Superior Court.

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CERTIFICATION rack UAN ‘TO SUC RULE 1:18
i hereby certify that | have complied with requirements of Rute 5 thé Stipreine Judigjal Court iniform Rules on Dispute Resolution (SJC Rule 1:18) requiring that | provide my
clients with information about court-connected dispute resolution vic vices And discus with then thé-advantages and disadvantages of the various methods of dispute resolution.

 

 

 

ié
Signature of Attorney/Unrepresented Plaintiff: X Le v Aa L te \ a | Date: September 30, 2021

 

 

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SCO0001: 1/22/2021 s www.mass.gov/courts Date/Time Printed:09-21-2021 14:25:44
ne
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COMMONWEALTH OF MASSACHUSETTS

BRISTOL, SS. SUPERIOR COURT DEPARTMENT
CIVIL ACTION NO.

ST. ANNE’S CREDIT UNION OF
FALL RIVER, MASS.
. Plaintiff

VS.

RAYMOND SILVA, JR.,

MICHELLE SILVA,

KATHARINE MESSIER and

THE INTERNAL REVENUE SERVICE,
Defendants

* * & *& FF He HK KK He H& &

COMPLAINT

This is an interpleader action in which the Plaintiff seeks to determine the rights to surplus

funds resulting from a Mortgage Foreclosure Sale.

PARTIES
1. The Plaintiff, St. Anne’s Credit Union of Fall River, Mass., is a Massachusetts credit union
with a usual place of business at 585 State Road, Dartmouth, Bristol County, Massachusetts
02747.
2. The Defendant, Raymond Silva, Jr., is a resident of the Commonwealth of Massachusetts

and has a usual residence at 9 Morningside Avenue, Acushnet, Bristol County,

Massachusetts 02743.

{ad

The Defendant, Michelle Silva, is a resident of the Commonwealth of Massachusetts and

has a usual residence at 54 Calumet Street, New Bedford, Bristol County, Massachusetts

02744.

4. The Defendant, Katharine E. Messier, is a resident of the State of Rhode Island and has a
usual residence at 50 Breakneck Hill Road, Lincoln, Providence County, Rhode Island
02865.

5. The Defendant, Internal Revenue Service, is an agency duly created and existing under and

by virtue of an Act of Congress, having a district office at JF. Kennedy Post Office, 15

New Sudbury Street, Boston, Suffolk County, Massachusetts 02203.
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FACTS

On March 17, 2000, Karin Silva conveyed the property located at 246 Rock O’Dundee
Road in Dartmouth, Bristol County, Massachusetts 02748 to Raymond Silva and Karin
Silva. The Deed is recorded with the Bristol County Southern District Registry of Deeds
in Book 4642 at Page 21. (A copy of the Deed evidencing same is attached hereto as
Exhibit “A”.)

On November 8, 2005, Raymond Silva and Karin Silva executed and delivered to the
Plaintiff, a Promissory Note in the original principal amount of Two Hundred Seventeen
Thousand and 00/100 ($217,000.00) Dollars. (A copy of the Promissory Note evidencing
same is attached hereto as Exhibit “B”.)

As security for said Promissory Note, Raymond Silva and Karin Silva granted a Mortgage
to St. Anne’s Credit Union of Fall River, Mass. encumbering the real property located at
246 Rock O’Dundee Road in Dartmouth, Bristol County, Massachusetts 02748. The
Mortgage was recorded with the Bristol County Southern District Registry of Deeds on
November 14, 2005 in Book 7868 at Page 6. (A copy of the Mortgage evidencing same is
attached hereto as Exhibit “C’’.)

On October 27, 2015, a Notice of Federal Tax Lien in the amount of Thirty-Nine Thousand
Three Hundred Three and 34/100 ($39,303.34) Dollars was recorded by the Internal
Revenue Service. The Notice of Federal Tax Lien is recorded with the Bristol County
Southern District Registry of Deeds in Book 11515 at Page 9. (A copy of the Notice of
Federal Tax Lien evidencing same is attached hereto as Exhibit “D”’.)

On August 21, 2017, a Notice of Federal Tax Lien in the amount of Six Thousand Four
Hundred Sixty-Three and 86/100 ($6,463.86) Dollars was recorded by the Internal
Revenue Service. The Notice of Federal Tax Lien is recorded with the Bristol County
Southern District Registry of Deeds in Book 12177 at Page 177. (A copy of the Notice of
Federal Tax Lien evidencing same is attached hereto as Exhibit “E”.)

On October 10, 2017, Karin Silva passed away. (A copy of the Certificate of Death
evidencing same is attached hereto as Exhibit “F’’.)

On August 15, 2018, Raymond Silva, a/k/a Raymond Silva, Sr., conveyed the property
located at 246 Rock O’ Dundee Road in Dartmouth, Bristol County, Massachusetts 02748
to Ryan Silva, Michelle Silva and Raymond Silva, Jr., reserving a life estate in the property
to himself. The Deed is recorded in the Bristol County Southern District Registry of Deeds
in Book 12538 at Page 187. (A copy of the Deed evidencing same is attached hereto as
Exhibit “G”’.)

On October 17, 2018, Raymond Silva, a/k/a Raymond Silva, Sr. passed away. (A copy of
the Certificate of Death evidencing same is attached hereto as Exhibit “H”.)
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On July 19, 2019, Ryan Silva passed away. (A copy of the Certificate of Death evidencing
same is attached hereto as Exhibit “I’.) Mr. Silva is survived by his wife, Katharine
Messier, leaving no children.

On July 6, 2021, the Plaintiff sold the real property by foreclosure auction, for breach of
the conditions pursuant to the customary Power of Sale contained in the Mortgage to John
Alphonso Properties, LLC for Two Hundred Seventy-Five Thousand and 00/100
($275,000.00) Dollars. The Mortgagee’s Deed and Affidavit were recorded on August 24,
2021 with the Bristol County Southern District Registry of Deeds in Book 13968 at Page
251. (A copy of the Mortgagee’s Deed and Affidavit evidencing same is attached hereto
as Exhibit “J’”).

After deduction and payment of the outstanding balance due to the Plaintiff on the
Mortgage and the fees and costs associated with the foreclosure, pursuant to the Mortgage,
the remaining proceeds from the foreclosure sale is Sixty-Five Thousand One Hundred
Seventy-Eight and 67/100 ($65,178.67) Dollars.

The Internal Revenue Service, Raymond Silva, Jr., Michelle Silva, and Katharine Messier
are entitled to the surplus funds. The Plaintiff is not aware of any other creditor(s) who
may stake a claim to the surplus funds.

COUNT I -DECLARTORY JUDGMENT

The Plaintiff reasserts and reavers the allegations contained in Paragraphs | through 17 of
this Complaint as if fully set out herein and expressly makes them a part of this Count I.

The Plaintiff asserts that it may be subject to disputed claims to the surplus funds.

The Plaintiff is unaware of the rights of the Defendants and is unable to determine whether
the Defendants or some other creditor or entity is justly due the surplus funds.

The Plaintiff has an interest in the surplus funds to the extent the law allows it to recover
its fees, costs and expenses associated with this interpleader action to be paid from the
surplus.

WHEREFORE, the Plaintiff, St. Anne’s Credit Union of Fall River, Mass., prays that:

The Defendants be restrained from instituting any action against the Plaintiff for the
recovery of the surplus funds or any part thereof;

The Plaintiff be allowed its costs, expenses, and reasonable attorneys’ fees in this
interpleader action;
Case 1:21-cv-11831-PBS Document 1-3 Filed 11/10/21 Page 10 of 46

c. The Plaintiff be permitted to pay into this Court the surplus funds, less the reasonable
attorneys’ fees and costs incurred by the Plaintiff in connection with the filing and
prosecution of this action;

d. Following the deposit of the surplus funds with the Court, the Plaintiff be dismissed from
this action;

e. Require the Defendants and any other creditor or entity staking a claim to the surplus funds
to make their claims to the surplus funds in this case; and

f. Grant the Plaintiff such other and further relief as this Honorable Court deems just and
equitable.

ST. ANNE’S CREDIT UNION OF FALL
RIVER, MASS.
By its attorneys,

 

 

 

Rayniond ©. Pelote, BBO#655475
90 New State Highway

Raynham, MA 02767

Tel. No. (508) 823-4567

rpslote@wrnnandwyrn.com

Dated: September 30, 2021
Case 1:21-cv-11831-PBS Docune === turc

PROPERTY ADDRESS:

 

02748

246 Rock O'Dundee Road
Dartmouth, Masaachusetta

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Bristol fa, 3.6,

 

i, KARIN SILVA -

of Dartmouth . . ( M _
being unmarried, for consideration of $1,00 veld

grant = t@ «RAYMOND SILVA and KARIN SILVA, husband and wife, tenants
by the entirety Lo L- .

being unmarried
who reside at 246 Rook O'Dundee Rd. in Dartmouth, Massachusettes 02748
with quitelaim covenants,

the land, with any buildings thereon, in Dartmouth, Bristol County, Commonwealth
of Massachusetts, bounded and described as follows:

BEGINNING at the southeast corner of the land herein described at
a point in the westerly line of Rock @'Pundes Road, and at the
northeast corner of Lot #4 as shown on plan of tand hereinafter .
mentioned; , .

thence SOUTH 87 degrees 08' 10° WEST in line of last-named lot and
Lot "E" ag shown on said plan, one hundred eighty-eight and 91/100
{188.91} feet to land now or formerly of Robert Meilo;

thence NORTH 19 degrees 26' G7" HAST in line of last-named land
and a stone wall, one hundred thirty-five and 64/100 (135.64) feet
to a point for a corner;

thence NORTH 87 degrees 68° 07" EAST in line of a way, one hundred
geven and 43/100 (107.43) feet to a point;

curve having a radius of thirty (30) feet, a distance of .

forty-seven and 12/106 (47.12) feet to a point in the said line of
Rock O'Dundee Road;

thence SOUTH 2 degrees 51‘ 50” EAST in Line of said’ Rock O' Pumdesa
Road, ninety-five and 50/100 (95.50) feet to the point of
beginning - Y Vv .

BEING shown as Lot 3 and Lot "DY on a plan entitled "Plan of Land
Rock O' Dundee Road, Dartmouth, Massachusetts", dated December 30,
1977, Perkins Engineering, inc.,; Middleborough, Massachusetts,
yevised January 24, 1978, and filed in Bristol County 8.0.
Regiatry of Deeds in Plan Hook 102, Page 53.

 

FOR TITLE, see deed from Raymond silva; dated August 7, 1989 and
recorded in gaid Ragistry of Deeds in Hook 4108, Page 704.

SURJECT tq all encumbrances of record, including. easemente,
ragtrictions, and rights of way, if.any, insofar as the same may
be in foree and applicable. — :

SUBIECT to the 2000 fiscal year real estate taxes which the
grantee {es} assume {a} and agree(s} to pay.
 

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me 4642 PGB

 

    

 

Witness ™Y hand = and commonsealthis = 17th dayof . March 42000
ted in the presence of Myx)

in Silva

 

 

 

 

 

 

 

 

Bristol, 38. March 17,. Bx 2000)
Then personally appeared. the above mmed . Kavin Silva a |
and acknowledged the foregoing insiraiait ta be her free act and dead,

 

hefore

  

My commission expires

 
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NOTE

 

November 8, 2005 New Bedford, Massachusetts
[City] [State]

246 Rock-O-Dundee Read, Dartmouth, Massachusetts 02748
[Property Address}

1, BORROWER'S PROMISE TO PAY

Tn return for a loan that I have received, I promise to pay U.S. $217,000.00 (this amount is called "Principal”), plus interest, to
the order of the Lender. The Lender is St. Anne’s Credit Union of Fall River, Mass.. I will make payments under this Note in
the form of cash, check, or money order.

I understand that the Lender may transfer this Note, The Lender or anyone who takes this Note by transfer and who is entitled
to receive payments under this Note is called the "Note Holder”.

2, INTEREST

Interest will be charged on unpaid Principal until the full amount of Principal has been paid. I will pay interest at a yearly rate
of 6.250%.

The interest rate required by this Section 2 is the rate I will pay both before and after any default described in Section 6(B) of
this Nate.

3. PAYMENTS

(A) Time and Place of Payments

I will pay principal and interest by making a payment every month.

I will make my monthly payment on the First day of each month beginning on January 1, 2006. I will make these payments
every month until I have paid all of the principal and interest and any other charges described below that I may owe under this
Note. Each monthly payment will be applied as of its scheduled due date and will be applied to interest before Priscipal. If, on
December !, 2035 I still owe amounts under this Note, I will pay those amounts in full on that date, which is called the "Maturity
Date.”

I will make my monthly payments at 286 Oliver Street, Fall River, Massachusetts 02724 or at a different place if required by
the Note Holder.

(B) Amount of Monthly Payments

My monthly payment will be in the amount of U.S. $1,336.11.

4. BORROWER'S RIGHT TO PREPAY

I have the right to make payments of Principal at any time before they are due. A payment of Principal only is known as a
“Prepayment.” When ] make a Prepayment, I will tell the Note Holder in writing that I am doing so. I may not designate a
payment as a Prepayment if] have not made all the monthly payments due under the Note.

I may make a full Prepayment or partial Prepayments without paying a Prepayment charge. The Note Holder will use my
Prepayments to reduce the amount of Principal that I owe under this Note. However, the Note Holder may apply my Prepayment
to the accrued and unpaid interest on the Prepayment amount, before applying my Prepayment to reduce the Principal amount of
the Note, If] make a partial Prepayment, there will be no changes in the due date or in the amount of my monthly payment unless
the Note Holder agrees in writing to those changes.

5. LOAN CHARGES

Ifa law, which applies to this loan and which sets maximum loan charges, is finally interpreted so that the interest or other loan
charges collected or to be collected in connection with this loan exceed the permitted limits, then: {i} any such loan charge shall be
reduced by the amount necessary to reduce the charge to the permitted limit; and (ii) any sums already collected from me which
exceeded permitted limits will be refunded to me. The Note Holder may choose to make this refund by reducing the Principal 1
owe under this Note or by making a direct payment to me. If a refund reduces Principal, the reduction will be treaied as a partial

Prepayment. { ff fe
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MULTISTATE FIXED RATE NOTE-—Single Family -FMMA/FHLMC UNIFORM INSTRUMENT Form 3200 1/01 (pagel of 3 pages}
©1986-2005 Standard Solutions, inc. 721-324-0559 FNNote

  
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¢
6. BORROWER'S FAILURE TO PAY AS REQUIRED

(A) Late Charges for Overdue Payments

If the Note Holder has not received the full amount of any monthly payment by the end of 15 calendar days after the date it is
due, I will pay a late charge to the Note Holder. The amount of the charge will be 3.0000% of my overdue payment of principal
and interest. I will pay this late charge promptly but only once on each late payment.

(B) Default

If] do not pay the full amount of each monthly payment on the date it is due, I will be in defauit.

(C) Notice of Default

If 1 am in default, the Note Holder may send me a written notice telling me that if I do not pay the overdue amount by 4 certain
date, the Note Holder may require me to pay immediately the full amount of Principal which has not been paid and all the interest
that I owe on that amount. That date must be at least 30 days after the date on which the notice is mailed to me or delivered by
other means.

(D) No Waiver By Note Holder

Even if, at a time when I am in default, the Note Holder does not require me to pay immediately in full as described above, the
Note Holder will still have the right to do so if I am in default at a later time.

(E) Payment of Note Holder's Costs and Expenses

If the Note Holder has required me to pay immediately in full as described above, the Note Holder will have the right to be paid
back by me for alf of its costs and expenses in enforcing this Note to the extent not prohibited by applicable law. Those expenses
include, for example, reasonable attorneys’ fees.

7. GIVING OF NOTICES

Unless applicable law requires a different method, any notice that must be given to me under this Note will be given by
delivering it or by mailing it by first class mail to me at the Property Address above or at a different address if 1 give the Note
Holder a notice of my different address.

Aay notice that must be given to Note Holder under this Note will be given by delivering it or by mailing it by first class mail to
the Note Holder at the address stated in Section 3(A) above or at a different address if] am given a notice of that different address.
8. OBLIGATIONS OF PERSONS UNDER THIS NOTE

If more than one person sigus this Note, each person is fully and personally obligated to keep all of the promises made in this
Note, including the promise to pay the full amount owed. Any person who is a guarantor, surety or endorser of this Note is also
abligated to do these things, Any person who takes over these obligations, including the obligations of a guarantor, surety or
endorser of this Note, is also obligated to keep all of the promises made in this Note. The Note Holder may enforce its rights
under this Note against each person individually or against all of us together. This means that any one of us may be required to pay
all of the amounts owed under this Note,

9. WAIVERS

I and any other person who has obligations under this Note waive the rights of Presentment and Notice of Dishonor.
“Presentment” means the right to require the Note Holder to demand payment of amounts due, "Notice of Dishonor” means the
right to require the Noie Holder to give notice to other persons that amounts due have not been paid.

10. UNIFORM SECURED NOTE

This Note is a uniform instrument with limited variations in some jurisdictions. In addition to the protections given to the Note
Holder under this Note, a Mortgage, Deed of Trust, or Security Deed {the "Security Instrument”), dated the same date as this Note,
protects the Note Halder from passibie losses which might result if | do not keep the promises which 1 make in this Note. That
Security Instrument describes how and under what conditions | may be required to make immediate payment in fuil of all amounts
lowe under this Note. Some of those conditions are described as follows:

If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is not a
natural person and a beneficial interest in Borrower is sold or transferred) without Lender's prior written consent, Lender
may require immediate payment in full of all sums secured by this Security Instrument. However, this option shall not be
exercised by Lender if such exercise is prohibited by Applicable Law.

 

MULTISTATE FIXED RATE NOTE—Single Family-FMMA/FHLMC UNIFORM INSTRUMENT Form 3290 1/01 (page 2 of 3 pages )
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° . If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall provide a
period of not less than 30 days from the date the notice is given in accordance with Section 15 within which Borrower
must pay all sums secured by this Security Instrument. If Borrower fails to pay these sums prior to the expiration of this

period, Lender may invoke any remedies permitted by this Security Instrument without further notice or demand on

Borrower.

WITNESS THE HAND(S) AND SEAL(S) OF THE UNDERSIGNED.

 

 

 

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Witness / Raymond Siva
ELM.
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Form 3266 1/01 (page 3 of 3 pages}

MULTISTATE FIXED RATE NOTE~Single Family-FNMA/FR LMC UNIFORM INSTRUMENT
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284 Oliver Street . ——
Fall River, MA 02724 Pie “hast Bet ot
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MORTGAGE

DEFINITIONS

Words used in multiple sections of this document are defined below and other words are defined in
Sections 3, 11, 13, 18, 20, and 21. Certain rules regarding the usage of words used in this document are
also provided in Section 16.

(A) "Security Instrument” means this document, which is dated November 8, 2005, together with all
Riders to this document. ,

(B) "Borrower" is Raymond Silva and Karin Silva. Borrower is the mortgagor under this Security
Instrument.

(C) "Lender" is St. Anne's Credit Union of Fall River, Mass.. Lender is a corporation, organized and
existing under the laws of Commonwealth of Massachusetts. Lender's address is 286 Oliver Street,
Fall River, Massachusetts 02724. Lender is the mortgagee under this Security Instrument.

(@) "Note" means the promissory note signed by Borrower and dated November 8, 2005. The Note
states that Borrower owes Lender Two Hundred Seventeen Thousand and 00/100 Dollars (U.S.
$217,000.00) plus interest. Borrower has promised to pay this debt in regular Periodic Payments and to
pay the debt in full not later than December 1, 2035.

(E) "Property" means the property that is described below under the heading “Transfer of Rights in the
Property."

(F) "Loan" means the debt evidenced by the Note, plus interest, any prepayment charges and late charges
due under the Note, and all sums due under this Security Instrument, plus interest.

(G) "Riders" means all Riders to this Security Instrument that are executed by Borrower. The following
Riders are to be executed by Borrower [check box as applicable]:

(i Adjustable Rate Rider © Condominium Rider , (Second Home Rider
0 Balloon Rider oO Planned Unit Development Rider Other(s) [specify]
EXHIBIT "A".
Cj 1-4 Family Rider O Biweekly Payment Rider
MASSACHUSETTS—Single Family—Fannie Mac/Freddic Wiac UNIFORM INSTRUMENT Form 3022 1/01 (page 1 of 16 pages}

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‘@) "Applicable Law" means all controlling applicable federal, vat and local statutes, regulations,
ordinances and administrative mules and orders (that have the effect of law) as well as all applicable final,
non-appealable judicial opinions.

() "Community Association Dues, Fees and Assessments" means all dues, fees, assessments and other
charges that are imposed on Borrower or the Property by a condominium association, homeowners
association or similar organization.

(J) "Electronic Funds Transfer" means any transfer of funds, other than a transaction originated by
check, draft, or similar paper instrument, which is initiated through an electronic terminal, telephonic
instrument, computer, or magnetic tape so as to order, instruct, or authorize a financial institution to debit
or credit an account. Such term includes, but is not limited to, point-of-sale transfers, automated teller
machine transactions, transfers initiated by telephone, wire transfers, and automated clearinghouse
transfers,

(sx) "Escrow Items" mean those items that are described in Section 3.

(L) "Miscellaneous Proceeds" means any compensation, settlement, award of damages, or proceeds paid
by any third party (other than insurance proceeds paid under the coverages described in Section 5) for: (i)
damage to, or destruction of, the Property; (ii) condemnation or other taking of all or any part of the
Property; (iii) conveyance in lieu of condemnation; or (iv) misrepresentations of, or omissions as to, the
value and/or condition of the Property.

(M) "Mortgage Insurance" means insurance protecting Lender against the nonpayment of, or default
on, the Loan.

(N) "Periodic Payment" means the regularly scheduled amount due for (i) principal and interest under
the Note, plus (ii) any amounts under Section 3 of this Security Instrument.

(O) "RESPA" means the Real Estate Settlement Procedures Act (12 U.S.C.,2601 et seq.) and its
implementing regulation, Regulation X (24 C.F.R. Part 3500), as they might be amended from time ta
time, or any additional or successor legislation or regulation that governs the same subject matter. As
used in this Security Instrument, "RESPA" refers to all requirements and restrictions that are imposed in
regard to a "federally related mortgage loan" even if the Loan does not qualify as a “federally related
mortgage loan" under RESPA.

(P) “Successor in Interest of Borrower" means any party that has taken title to the Property, whether or
not that party has assumed Borrower's obligations under the Note and/or this Security Instrument.

TRANSFER OF RIGHTS IN THE PROPERTY

This Security Instrument secures to Lender: () the repayment of the Loan, and all renewals, extensions
and modifications of the Note; and (ii) the performance of Borrower's covenants and agreements under
this Security Instrument and the Note. For this purpose, Borrower does hereby morigage, grant and
convey to Lender and Lender's successors and assigns, with power of sale, the following described

MASSACHUSETTS—Single Family—Fannie Mae/Freddie Mac UNIFORM INSTRUMENT Form 3022 1/01 (page 2 of 16 pages}
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‘property located in the County [Type of Recording Jurisdiction] of Bristol [Name of Recording
Jurisdiction]

SEE EXHIBIT "A" ATTACHED HERETO AND MADE A PART HEREOF,

which currently has the address of 246 Rock-O-Dundee Road, Dartmouth, Massachusetts 02748
(“Property Address"):

TOGETHER WITH all the improvements now or hereafter erected on the property, and all
easements, appurtenances, and fixtures now or hereafter a part.of the property.. All replacements and
additions shall also be covered by this Security Instrument. All of the foregoing is referred to in this
Security Instrument as the “Property.”

BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and
has the right to mortgage, grant and convey the Property and that the Property is unencumbered, except
for encumbrances of record. Borrower warrants and will defend generally the title to the Property against
all claims and demands, subject to any encumbrances of record.

THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform
covenants with limited variations by jurisdiction to constitute a uniform security instrument covering real

property.

UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:

1. Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late Charges.
Borrower shall pay when due the principal of, and interest on, the debt evidenced by the Note and any
prepayment charges and late charges due under the Note. Borrower shall also pay funds for Escrow Items
pursuant to Section 3, Payments due under the Note and this Security Instrument shall be made in U.S.
currency. However, if any check or other instrument received by Lender as payment under the Note or
this Security Instrument is returned to Lender unpaid, Lender may require that any or all subsequent
payments due under the Note and this Security Instrument be-made in one or more of the following forms,
as selected by Lender: (a) cash; (b) money order;(c) certified check, bank check, treasurer's check or
cashier's check, provided any such check is drawn upon an institution whose deposits

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are insured by a federal agency, instrumentality, or entity; or (d) Electronic Funds Transfer.

. Payments are deemed received by Lender when received at the location designated in the Note or
at such other location as may be designated by Lender in accordance with the notice provisions in Section
15. Lender may retum any payment or partial payment if the payment or partial payments are insufficient
to bring the Loan current. Lender may accept any payment or partial payment insufficient to bring the
Loan current, without waiver of any rights hereunder or prejudice to its rights to refuse such payment or
partial payments in the future, but Lender is not obligated to apply such payments at the time such
payments are accepted. If each Periodic Payment is applied as of its scheduled due date, then Lender
need not pay interest on unapplied funds. Lender may hold such unapplied funds until Borrower makes
payment to bring the Loan current. If Borrower does not do so within a reasonable period of time, Lender
shall either apply such funds or return them to Borrower. If not applied earlier, such fimds will be applied

_to the outstanding principal balance under the Note immediately prior to foreclosure. No offset or claim
which Borrower might have now or in the future against Lender shall relieve Borrower from making
payments due under the Note and this Security Instrument or performing the covenants and agreements
secured by this Security Instrument.

2. Application of Payments or Proceeds. Except as otherwise described in this Section 2, all
payments accepted and applied by Lender shall be applied in the following order of priority: (a) interest
due under the Note; (b) principal due under the Note; (c) amounts due under Section 3. Such payments
shall be applied to each Periodic Payment in the order in which it became due. Any remaining amounts
shall be applied first to late charges, second to any other amounts due under this Security Instrument, and
then to reduce the principal balance of the Note.

If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a
sufficient amount to pay any late charge due, the payment may be applied to the delinquent payment and
the late charge. If more than one Periodic Payment is outstanding, Lender may apply any payment
received from Borrower to the repayment of the Periodic Payments if, and to the extent that, each
payment can be paid in full. To the extent that any excess exisis after the payment is applied to the full
payment of one or more Periodic Payments, such excess may be applied to any late charges due.
Voluntary prepayments shall be applied first to any prepayment charges and then as described in the Note.

Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due
under the Note shall not extend or postpone the due date, or change the amount, of the Periodic Payments.

3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due
under the Note, until the Note is paid in full, a sum (the "Funds") to provide for payment of amounts due
for: (a) taxes and assessments and other items which can attain priority over this Security Instrument as a
lien or encumbrance on the Property; (b) leasehold payments or ground rents on the Property, if any; (c)
premiums for any and all insurance required by Lender under Section 5; and (d) Mortgage Insurance
premiums, if any, or any sums payable by Borrower to Lender in lieu of the payment of Mortgage
Insurance premiums in accordance with the provisions of Section 10. These items are called "Escrow
Items." At origination or at any time during the term of the Loan, Lender may require that Community
Association Dues, Fees and Assessments, if any, be escrowed by Borrower, and such dues,

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feés and assessments shall be an Escrow Item. Borrower shall promptly furnish to Lender all notices of
amounts to be paid under this Section. Borrower shall pay Lender the Funds for Escrow Items unless

” Lender waives Borrower's obligation to pay the Funds for any or all Escrow Items. Lender may waive

Borrower’s obligation to pay to Lender Funds for any or all Escrow Items at any time. Any such waiver
may only be in writing. In the event of such waiver, Borrower shall pay directly, when and where
payable, the amounts due for any Escrow Items for which payment of Funds has been waived by Lender
and, if Lender requires, shall furnish to Lender receipts evidencing such payment within such time period
as Lender may require. Borrower's obligation to make such payments and to provide receipts shall for all
purposes be deemed to be a covenant and agreement contained in this Security Instrument, as the phrase
“covenant and agreement" is used in Section 9. If Borrower is obligated to pay Escrow Items d'rectly,
pursuant to a waiver, and Borrower fails to pay the amount due for an Escrow Item, Lender may exercise
its rights under Section 9 and pay such amount and Borrower shall then be obligated under Section 9 to
repay to Lender any such amount. Lender may revoke the waiver as to any or all Escrow Items at any
time by a notice given in accordance with Section 15 and, upon such revocation, Borrower shall pay to
Lender all Funds, and in such amounts, that are then required under this Section 3.

Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to
apply the Funds at the time specified under RESPA, and (b) not to exceed the maximum amount a lender
can require under RESPA. Lender shall estimate the amount of Funds due on the basis of current data and
reasonable estimates of expenditures of future Escrow Items or otherwise in accordance with Applicable
Law.
The Funds shall be held in an institution whose deposits are insured by a federal gency,
instrumentality, or entity (including Lender, if Lender is an institution whose deposits are so insured) or in
any Federal Home Loan Bank. Lender shall apply the Funds to pay the Escrow Items no later than the
time specified under RESPA. Lender shall not charge Borrower for holding and applying the Funds,
annually analyzing the escrow account, or verifying the Escrow Items, unless Lender pays Borrower
interest on the Funds and Applicable Law permits Lender to make such a charge. Unless an agreement is
made in writing or Applicable Law requires interest to be paid on the Funds, Lender shall not be required
to pay Borrower any interest or earnings on the Funds. Borrower and Lender can agree in writing,
however, that interest shall be paid on the Funds. Lender shall give to Borrower, without charge, an
annual accounting of the Funds as required by RESPA.

If there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to
Borrower for the excess funds in accordance with RESPA. If there is a shortage of Funds held in escrow,
as defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to
Lender the amount necessary to make up the shortage in accordance with RESPA, but in no more than 12
monthly payments. If there is a deficiency of Funds held in escrow, as defined under RESPA, Lender
shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to
make up the deficiency in accordance with RESPA, but in no more than 12 monthly payments.

Upon payment in full of all sums secured by this Security 1 Instrument, Lender shall promptly refund to
Borrower any Funds held by Lender.

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4. Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines and impositions
attributable to the Property which can attain priority over this Security Instrument, leasehold payments or

: ground rents on the Property, if any, and Community Association Dues, Fees, and Assessments, if any.

To the extent that these items are Escrow Items, Borrower shall pay them in the manner provided in
Section 3. Borrower shall promptly discharge any lien which has priority over this Security Instrument
unless Borrower: (a) agrees in writing to the payment of the obligation secured by the lien in a manner
acceptable to Lender, but only so long as Borrower is performing such agreement; (b) contests the lien in
good faith by, or defends against enforcement of the lien in, legal proceedings which in Lender's opinion
operate to prevent the enforcement of the lien while those proceedings are pending, but only until such
proceedings are concluded; or (c) secures from the holder of the lien an agreement satisfactory to Lender
subordinating the lien to this Security Instrument. If Lender determines that any part of the Property is
subject to a lien which can attain priority over this Security Instrument, Lender may give Borrower a
notice identifying the lien. Within 10 days of the date on which that notice is given, Borrower shall
satisfy the lien or take one or more of the actions set forth above in this Section 4.

Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or
reporting service used by Lender in connection with this Loan.

5. Property Insurance. Borrower shall keep the improvements now existing or hereafter erected
on the Property insured against loss by fire, hazards included within the term “extended coverage," and
any other hazards including, but not limited to, earthquakes and floods, for which Lender requires
insurance. This insurance shall be maintained in the amounts (including deductible levels) and for the
periods that Lender requires. What Lender requires pursuant to the preceding sentences can change
during the term of the Loan. The insurance carrier providing the insurance shall be chosen by Borrower
subject to Lender's right to disapprove Borrower's choice, which right shall not be exercised
unreasonably. Lender may require Borrower to pay, in connection with this Loan, either: (a) a one-time
charge for flood zone determination, certification and tracking services; or (b) a one-time charge for flood
zone determination and certification services and subsequent charges each time remappings or similar
changes occur which reasonably might affect such determination or certification. Borrower shall also be
responsible for the payment of any fees imposed by the Federal Emergency Management Agency in
connection with the review of any flood zone determination resulting from an objection by Borrower.

If Borrower fails to maintain any of the coverages described above, Lender may obtain insurance
coverage, at Lender's option and Borrower's expense. Lender is under no obligation to purchase any
particular type or amount of coverage. Therefore, such coverage shall cover Lender, but might or might
not protect Borrower, Borrower's equity in the Property, or the contents of the Property, against any risk,
hazard or liability and might provide greater or lesser coverage than was previously in effect. Borrower
acknowledges that the cost of the insurance coverage so obtained might significantly exceed the cost of
insurance that Borrower could have obtained. Any amounts disbursed by Lender under this Section 5
shall become additional debt of Borrower secured by this Security Instrument. These amounts shall bear
interest at the Note rate from the date of disbursement and shall be payable, with such interest, upon
notice from Lender to Borrower requesting payment.

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All insurance policies required by Lender and renewals of such policies shall be subject to
Lender's right to disapprove such policies, shall include a standard mortgage clause, and shall name

‘Lender as mortgagee and/or as an additional loss payee. Lender shall have the right to hold the policies

and renewal certificates. If Lender requires, Borrower shall promptly give to Lender all receipts of paid
premiums and renewal notices. If Borrower obtains any form of insurance coverage, not otherwise
required by Lender, for damage to, or destruction of, the Property, such policy shall include a standard
mortgage Clause and shall name Lender as mortgagee and/or as an additional loss payee.

In the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender.
Lender may make proof of loss if not made promptly by Borrower. Unless Lender and Borrower
otherwise agree in writing, any insurance proceeds, whether or not the underlying insurance was required
by Lender, shall be applied to restoration or repair of the Property, if the restoration or repair is
economically feasible and Lender's security is not lessened. During such repair and restoration period,
Lender shail have the right to hold such insurance proceeds until Lender has had an opportunity to inspect
such Property to ensure the work has been completed to Lender's satisfaction, provided that such
inspection shall be undertaken promptly. Lender may disburse proceeds for the repairs and restoration in
a single payment or in a series of progress payments as the work is completed. Unless an agreement is
made in writing or Applicable Law requires interest to be paid on such insurance proceeds, Lender shall
not be required to pay Borrower any interest or earnings on such proceeds. Fees for public adjusters, or
other third parties, retained by Borrower shall not be paid out of the insurance proceeds and shall be the
sole obligation of Borrower. If the restoration or repair is not economically feasible or Lender's security
would be lessened, the insurance proceeds shall be applied to the sums secured by this Security
Instrument, whether or not then due, with the excess, if any, paid to Borrower. Such insurance proceeds
shall be applied in the order provided for in Section 2.

If Borrower abandons the Property, Lender may file, negotiate and settle any available insurance
claim and related matters. If Borrower does not respond within 30 days to a notice from Lender that the
insurance carrier has offered to settle a claim, then Lender may negotiate and setile the claim. The 30-day
period will begin when the notice is given. In either event, or if Lender acquires the Property under
Section 22 or otherwise, Borrower hereby assigns to Lender (a) Borrower's rights to any insurance
proceeds in an amount not to exceed the amounts unpaid under the Note or this Security Instrument, and
(b) any other of Borrower's rights (other than the right to any refund of unearned premiums paid by
Borrower) under all insurance policies covering the Property, insofar as such rights are applicable to the
coverage of the Property. Lender may use the insurance proceeds either to repair or restore the Property
or to pay amounts unpaid under the Note or this Security Instrument, whether or not then due.

6. CGceupamey. Borrower shall occupy, establish, and use the Property as Borrower's principal
residence within 60 days after the execution of this Security Instrument and shall continue to occupy the
Property as Borrower's principal residence for at least one year after the date of occupancy, unless Lender
otherwise agrees in writing, which consent shall not be unreasonably withheld, or unless
extenuating circumstances exist which are beyond Borrower's control.

7. Preservation, Maintenance and Protection of the Property; Inspections. Borrower shail
not destroy, damage or impair the Property, allow the Property to deteriorate or commit waste on the

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‘Property. Whether or not Borrower is residing in the Property, Borrower a maintain the Property in
_order to prevent the Property from deteriorating or decreasing in value due to its condition. Unless it is
determined pursuant to Section 5 that repair or restoration is not economically feasible, Borrower shall
promptly repair the Property if damaged to avoid further deterioration or damage. If insurance or
condemnation proceeds are paid in connection with damage to, or the taking of, the Property, Borrower
shall be responsible for repairing or restoring the Property only if Lender has released proceeds for such
purposes. Lender may disburse proceeds for the repairs and restoration in a single payment or in a series
of progress payments as the work is completed. If the insurance or condemnation proceeds are not
sufficient to repair or restore the Property, Borrower is not relieved of Borrower's obligation for the
completion of such repair or restoration.

Lender or its agent may make reasonable entries upon and inspections of the Property. If it has
reasonable cause, Lender may inspect the interior of the improvements on the Property. Lender shall give
Borrower notice at the time of or prior to such an interior inspection specifying such reasonable cause.

8. Borrower's Loan Application. Borrower shall be in default if, during the Loan application
process, Borrower or any persons or entities acting at the direction of Borrower or with Borrower's
knowledge or consent gave materially false, misleading, or inaccurate information or statements to Lender
(or failed to provide Lender with material information) in connection with the Loan. Material
representations include, but are not limited to, representations concerning Borrower's occupancy of the
Property as Borrower's principal residence.

9. Protection of Lender's Interest in the Property and Rights Under this Security
Instrument. If (a) Borrower fails to perform the covenants and agreements contained in this Security
Instrument, (b) there is a legal proceeding that might significantly affect Lender's interest in the Property
and/or rights under this Security Instrument (such as a proceeding in bankruptcy, probate, for
condemnation or forfeiture, for enforcement of a lien which may attain priority over this Security
Instrument or to enforce laws or regulations), or (c) Borrower has abandoned the Property, then Lender
may do and pay for whatever is reasonable or appropriate to protect Lender's interest in the Property and
rights under this Security Instrument, including protecting and/or assessing the value of the Property, and
securing and/or repairing the Property. Lender's actions can include, but are not limited to: (a) paying any
sums secured by a lien which has priority over this Security Instrument; (b) appearing in court; and (c)
paying reasonable attorneys’ fees to protect its interest in the Property and/or rights under this Security
Instrument, including its secured position in a bankruptcy proceeding. Securing the Property includes, but
is not limited to, entering the Property to make repairs, change locks, replace or board up doors and
windows, drain water from pipes, eliminate building or other code violations or dangerous conditions, and
have utilities tumed on or off Although Lender may take action under this Section 9, Lender does not
have to do so and is not under any duty or obligation to do so. It is agreed that Lender incurs no liability
for not taking any or all actions authorized under this Section 9.

Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower
secured by this Security Instrument. These amounts shall bear interest at the Note rate from the date of
disbursement and shall be payable, with such interest, upon notice from Lender to Borrower requesting
payment.

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If this Security Instrument is on a leasehold, Borrower shall comply with all the oo PG of the
lease. If Borrower acquires fee title to the Property, the leasehold and the fee title shall not merge unless
Lender agrees to the merger in writing,

10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the
Loan, Borrower shall pay the premiums required to maintain the Mortgage Insurance in effect. If, for
any reason, the Mortgage Insurance coverage required by Lender ceases to be available from the
mortgage insurer that previously provided such insurance and Borrower was required to make separately
designated payments toward the premiums for Mortgage Insurance, Borrower shall pay the premiums
required to obtain coverage substantially equivalent to the Mortgage Insurance previously in effect, at a
cost substantially equivalent to the cost to Borrower of the Mortgage Insurance previously in effect, from
an altemate mortgage insurer selected by Lender. If substantially equivalent Mortgage Insurance
coverage is not available, Borrower shall continue to pay to Lender the amount of the separately
designated payments that were due when the insurance coverage ceased to be in effect. Lender will
accept, use and retain these payments as a non-refundable loss reserve in lieu of Mortgage Insurance.
Such loss reserve shall be non-refundable, notwithstanding the fact that the Loan is ultimately paid in full,
and Lender shall not be required to pay Borrower any interest or earnings on such loss reserve. Lender
can no longer require loss reserve payments if Mortgage Insurance coverage (in the amount and for the
period that Lender requires) provided by an insurer selected by Lender again becomes available, is
obtained, and Lender requires separately designated payments toward the premiums for Mortgage
Insurance. If Lender required Mortgage Insurance as a condition of making the Loan and Borrower was
required to make separately designated payments toward the premiums for Mortgage Insurance, Borrower
shall pay the premiums required to maintain Mortgage Insurance in effect, or to provide a non-refundable
loss reserve, until Lender's requirement for Mortgage Insurance ends in accordance with any written
agreement between Borrower and Lender providing for such termination or until termination is required
by Applicable Law. Nothing in this Section 10 affects Borrower's obligation to pay interest at the rate
provided in the Note. °

Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it
may incur if Borrower does not repay the Loan as agreed. Borrower is not a party to the Mortgage
Insurance.

Mortgage insurers evaluate their total risk on all such insurance in force from time to time, any
may enter into agreements with other parties that share or modify their risk, or reduce losses. These
agreements are on terms and conditions that are satisfactory to the morigage insurer and the other party
(or parties) to these agreements. These agreements may require the mortgage insurer to make payments
using any source of funds that the mortgage insurer may have available (which may include funds
obtained from Mortgage Insurance premiums).

As a result of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer,
any other entity, or any affiliate of any of the foregoing, may receive (directly or indirectly) amounts that
derive from (or might be characterized as) a portion of Borrower's payments for Mortgage Insurance, in
exchange for sharing or modifying the mortgage insurer's risk, or reducing losses. If such agreement
provides that an affiliate of Lender takes a share of the insurer's risk in exchange for a share of the
premiums paid to the insurer, the arrangement is often termed "captive reinsurance." Further:

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(a) Any such agreements will not affect the amounts that Borrower has agreed to pay for
Mortgage Insurance, or any other terms of the Loan. Such agreements will not increase the
amount Borrower will owe for Mortgage Insurance, and they will not entitle Borrower to any
refund.

(b) Any such agreements will not affect the rights Borrower has, if any, with respect to the
Mortgage Insurance under the Homeowners Protection Act of 1998 or any other law. These rights
may include the right to receive certain disclosures, to request and obtain cancellation of the
Mortgage Insurance, to have the Mortgage Insurance terminated automatically, and/or to receive a
refund of any Mortgage Insurance premiums that were unearned at the time of such cancellation or
termination.

11. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby
assigned to and shall be paid to Lender.

If the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of the
Property, if the restoration or repair is economically feasible and Lender's security is not lessened. During
such repair and restoration period, Lender shall have the right to hold such Miscellaneous Proceeds until
Lender has had an opportunity to inspect such Property to ensure the work has been completed to Lender's
satisfaction, provided that such inspection shall be undertaken promptly. Lender may pay for the repairs
and restoration in a single disbursement or in a series of progress payments as the work is completed.
Unless an agreement is made in writing or Applicable Law requires interest to be paid on such
Miscellaneous Proceeds, Lender shall not be required to pay Borrower any interest or earnings on such
Miscellaneous Proceeds. If the restoration or repair is not economically feasible or Lender's security
would be lessened, the Miscellaneous Proceeds shall be applied to the sums secured by this Security
Instrument, whether or not then due, with the excess, if any, paid to Borrower. Such Miscellaneous
Proceeds shall be applied in the order provided for in Section 2.

In the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous
Proceeds shall be applied to the sums secured by this Security Instrument, whether or not then due, with
the excess, if any, paid to Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair
market value of the Property immediately before the partial taking, destruction, or loss in value is equal to
or greater than the amount of the sums secured by this Security Instrument immediately before the partial
taking, destruction, or loss in value, unless Borrower and Lender otherwise agree in writing, the sums
secured by this Security Instrument shail be reduced by the amount of the Miscellaneous Proceeds
multiplied by the following fraction: (a) the total amount of the sums secured immediately before the
partial taking, destruction, or loss in value divided by (b) the fair market value of the Property
immediately before the partial taking, destruction, or loss in value. Any balance shall be paid to
Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair
market value of the Property immediately before the partial taking, destruction, or loss in value is less
than the amount of the sums secured immediately before the partial taking, destruction, or loss in value,
unless Borrower and Lender otherwise agree in writing, the Miscellaneous Proceeds shall be applied to
the sums secured by this Security Instrument whether or not the sums are then due.

If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the
Opposing Party (as defined in the next sentence) offers to make an award to settle a claim for damages,

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Borrower fails to respond to Lender within 30 days after the date the notice is given, Lender is authorized
to collect and apply the Miscellaneous Proceeds either to restoration or repair of the Property or to the
Sums secured by this Security Instrument, whether or not then due, "Opposing Party" means the third

party that owes Borrower Miscellaneous Proceeds or the party against whom Borrower has a right of
action in regard to Miscellaneous Proceeds.

Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun that, in
Lender's judgment, could result in forfeiture of the Property or other material impairment of Lender's
interest in the Property or rights under this Security Instrument. Borrower can cure such a default and, if
acceleration has occurred, reinstate as provided in Section 19, by causing the action or proceeding to be
dismissed with a ruling that, in Lender's judgment, precludes forfeiture of the Property or other material
impairment of Lender's interest in the Property or rights under this Security Instrument. The proceeds of
any award or claim for damages that are attributable to the impairment of Lender's interest in the Property
are hereby assigned and shall be paid to Lender.

All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be
applied in the order provided for in Section 2.

12. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for
payment or modification of amortization of the sums secured by this Security Instrument granted by
Lender to Borrower or any Successor in Interest of Borrower shall not operate to release the liability of
Borrower or any Successors in Interest of Borrower. Lender shall not be required to commence
proceedings against any Successor in Interest of Borrower or to refuse to extend time for payment or
otherwise modify amortization of the sums secured by this Security Instrument by reason of any demand
made by the original Borrower or any Successors in Interest of Borrower. Any forbearance by Lender in
exercising any right or remedy including, without limitation, Lender's acceptance of payments from third
persons, entities or Successors in Interest of Borrower or in amounts less than the amount then due, shall
not be a waiver of or preclude the exercise of any right or remedy.

13. Joint and Several Liability; Co-signers; Successors and Assigns Bound. Borrower
covenants and agrees that Borrower's obligations and liability shall be joint and several. However, any
Borrower who co-signs this Security Instrument but does not execute the Note (a "co-signer"): (a) is co-
signing this Security Instrument only to mortgage, grant and convey the co-signer's interest in the
Property under the terms of this Security Instrument; (b) is not personally obligated to pay the sums
secured by this Security Instrument; and (c) agrees that Lender and any other Borrower can agree to
extend, modify, forbear or make any accommodations with regard to the terms of this Security Instrument
or the Note without the co-signer's consent.

Subject to the provisions of Section 18, any Successor in Interest of Borrower who assumes
Borrower's obligations under this Security Instrument in writing, and is approved by Lender, shall obtain
all of Borrower's rights and benefits under this Security Instrument. Borrower shall not be released from
Borrower's obligations and liability under this Security Instrument unless Lender agrees to such release in
writing. The covenants and agreements of this Security Instrument shall bind (except as provided in
Section 20) and benefit the successors and assigns of Lender.

14. Loan Charges. Lender may charge Borrower fees for services performed in connection with
Borrower's default, for the purpose of protecting Lender's interest in the Property and rights under this

_Security Instrument, including, but not limited to, attorneys’ fees, property inspection and valuation fees.

In regard to any other fees, the absence of express authority in this Security Instrument to charge a

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spetific fee to Borrower shall not be construed as a prohibition on the charging of su may

not charge fees that are expressly prohibited by this Security Instrument or by Applicable Law.

Tf the Loan is subject to a law which sets maximum loan charges, and that law is finally
interpreted so that the interest or other loan charges collected or to be collected in connection with the
Loan exceed the permitted limits, then: (a) any such loan charge shall be reduced by the amount necessary
to reduce the charge to the permitted limit; and (b) any sums already collected from Borrower which
exceeded permitted limits will be refunded to Borrower. Lender may choose to make this refimd by
reducing the principal owed under the Note or by making a direct payment to Borrower. If a refund
reduces principal, the reduction will be treated as a partial prepayment without any prepayment charge
(whether or not a prepayment charge is provided for under the Note). Borrower's acceptance of any such
refund made by direct payment to Borrower will constitute a waiver of any right of action Borrower mi ght
have arising out of such overcharge.

15. Notices. All notices given by Borrower or Lender in connection with this Security Instrument
must be in writing. Any notice to Borrower in connection with this Security Instrument shall be deemed
to have been given to Borrower when mailed by first class mail or when actually delivered to Borrower's
notice address if sent by other means. Notice to any one Borrower shall constitute notice to all Borrowers
unless Applicable Law expressly requires otherwise. The notice address shall be the Property Address
unless Borrower has designated a substitute notice address by notice to Lender. Borrower shall promptly
notify Lender of Borrower's change of address. If Lender specifies a procedure for reporting Borrower's
change of address, then Borrower shall only report a change of address through that specified procedure.
There may be only one designated notice address under this Security Instrument at any one time. Any
notice to Lender shall be given by delivering it or by mailing it by first class mail to Lender's address
stated herein unless Lender has designated another address by notice to Borrower. Any notice in
connection with this Security Instrument shall not be deemed to have been given to Lender until actually
received by Lender. If any notice required by this Security Instrument is also required under Applicable
Law, the Applicable Law requirement will satisfy the corresponding requirement under this Security
Instrument.

16. Governing Law; Severability; Rules of Construction. This Security Instrument shall be
governed by federal law and the law of the jurisdiction in which the Property is located. All rights and
obligations contained in this Security Instrument are subject to any requirements and limitations of
Applicable Law. Applicable Law might explicitly or implicitly allow the parties to agree by contract or it
might be silent, but such silence shall not be construed as a prohibition against agreement by contract. In
the event that any provision or clause of this Security Instrument or the Note conflicts with Applicable
Law, such conflict shall not affect other provisions of this Security Instrument or the Note which can be
given effect without the conflicting provision.

As used in this Security Instrument: (a) words of the masculine gender shall mean and include
corresponding neuter words or words of the feminine gender; (b) words in the singular shall mean and
include the plural and vice versa; and (c) the word “may” gives sole discretion without any obligation to
take any action.

17. Borrower's Copy. Borrower shall be given one copy of the Note and of this Security
Instrument.

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18. Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18,
“Interest in the Property" means any legal or beneficial interest in the Property, including, but not limited
to, those beneficial interests transferred in a bond for deed, contract for deed, installment sales contract or
escrow agreement, the intent of which is the transfer of title by Borrower at a future date to a purchaser.

Tf all or any part of the Property or any Interest in the Property is sold or transferred (or if
Borrower is not a natural person and a beneficial interest in Borrower is sold or transferred) without
Lender's prior written consent, Lender may require immediate payment in full of all sums secured by this
Security Instrument. However, this option shall not be exercised by Lender if such exercise is prohibited
by Applicable Law.

If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice
shall provide a period of not less than 30 days from the date the notice is given in accordance with Section
15 within which Borrower must pay all sums secured by this Security Instrument. If Borrower fails to
pay these sums prior to the expiration of this period, Lender may invoke any remedies permitted by this
Security Instrument without further notice or demand on Borrower.

19. Borrower's Right to Reinstate After Acceleration. If Borrower meets certain conditions,
Borrower shall have the right to have enforcement of this Security Instrument discontinued at any time
prior to the earliest of: (a) five days before sale of the Property pursuant to any power of sale contained in
this Security Instrument; (b) such other period as Applicable Law might specify for the termination of
Borrower's right to reinstate; or (c) entry of a judgment enforcing this Security Instrument. Those
conditions are that Borrower: (a) pays Lender all sums which then would be due under this Security
Instrument and the Note as if no acceleration had occurred; (b) cures any default of any other covenants or
agreements; (c) pays all expenses incurred in enforcing this Security Instrument, including, but not
limited to, reasonable attomeys' fees, property inspection and valuation fees, and other fees incurred for
the purpose of protecting Lender's interest in the Property and rights under this Security Instrument; and
{d) takes such action as Lender may reasonably require to assure that Lender's interest in the Property and
rights under this Security Instrument, and Borrower's obligation to pay the sums secured by this Security
Instrument, shall continue unchanged. Lender may require that Borrower pay such reinstatement sums
and expenses in one or more of the following forms, as selected by Lender: (a) cash; (b) money order; (c)
certified check, bank check, treasurer's check or cashier's check, provided any such check is drawn upon
an institution whose deposits are insured by a federal agency, instrumentality or entity; or (d) Electronic
Funds Transfer. Upon reinstatement by Borrower, this Security Instrument and obligations secured
hereby shall remain fully effective as if no acceleration had occurred. However, this right to reinstate shall
not apply in the case of acceleration under Section 18.

20. Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note or a partial interest
in the Note (together with this Security Instrument) can be sold one or more times without prior notice to
Borrower. A sale might result in a change in the entity (known as the "Loan Servicer") that collects
Periodic Payments due under the Note and this Security Instrument and performs other mortgage loan
servicing obligations under the Note, this Security Instrument, and Applicable Law. There also might be
one cr more changes of the Loan Servicer unrelated to a sale of the Note. If there is a change of the Loan
Servicer, Borrower will be given written notice of the change which will state the name and address of the
new Loan Servicer, the address to which payments should be made and any other information RESPA

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-* sequires in connection with a nl -e of transfer of servicing. If the Note’ old and thereafter the Loan is
serviced by a Loan Servicer other than the purchaser of the Note, the mortgage loan servicing obligations
to Borrower will remain with the Loan Servicer or be transferred to a successor Loan Servicer and are not
assumed by the Note purchaser unless otherwise provided by the Note purchaser.

Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as either an
individual litigant or the member of a class) that arises from the other party's actions pursuant to this
Security Instrument or that alleges that the other party has breached any provision of, or any duty owed by
reason of, this Security Instrument, until such Borrower or Lender has notified the other party (with such
notice given in compliance with the requirements of Section 15) of such alleged breach and afforded the
other party hereto a reasonable period after the giving of such notice to take corrective action. If
Applicable Law provides a time period which must elapse before certain action can be taken, that time
period will be deemed to be reasonable for purposes of this paragraph. The notice of acceleration and
opportunity to cure given to Borrower pursuant to Section 22 and the notice of acceleration given to
Borrower pursuant to Section 18 shall be deemed to satisfy the notice and opportunity to take corrective
action provisions of this Section 20.

21. Hazardous Substances. As used in this Section 21: (a) “Hazardous Substances" are those
substances defined as toxic or hazardous substances, pollutants, or wastes by Environmental Law and the
following substances: gasoline, kerosene, other flammable or toxic petroleum products, toxic pesticides
and herbicides, volatile solvents, materials containing asbestos or formaldehyde, and radioactive
materials; (b) "Environmental Law" means federal laws and laws of the jurisdiction where the Property is
located that relate to health, safety or environmental protection; (c) "Environmental Cleanup" includes
any response action, remedial action, or removal action, as defined in Environmental Law; and (d) an
"Environmental Condition" means a condition that can cause, contribute to, or otherwise trigger an
Environmental Cleanup.

Borrower shall not cause or permit the presence, use, disposal, storage, or release of any
Hazardous Substances, or threaten to release any Hazardous Substances, on or in the Property. Borrower
shall not do, nor allow anyone else to do, anything affecting the Property (a) that is in violation of any
Environmental Law, (b) which creates an Environmental Condition or (c) which, due to the presence, use,
or release of a Hazardous Substance, creates a condition that adversely affects the value of the Property,
The preceding two sentences shall not apply to the presence, use, or storage on the Property of small
quantities of Hazardous Substances that are generally recognized to be appropriate to normal residential
uses and to maintenance of the Property (including, but not limited to, hazardous substances in consumer
products).

Borrower shall promptly give Lender written notice of (a) any investigation, claim, demand,
lawsuit or other action by any governmental or regulatory agency or private party involving the Property
and any Hazardous Substance or Environmental Law of which Borrower has actual knowledge, (b) any
Environmental Condition, including but not limited to, any spilling, leaking, discharge, release or threat of
release of any Hazardous Substance, and (c) any condition caused by the presence, use or release of a
Hazardous Substance which adversely affects the value of the Property. If Borrower learns, or is notified
by any governmental or regulatory authority, or any private party, that any removal or other remediation
of any Hazardous Substance affecting the Property is necessary, Borrower shall promptly take all
necessary remedial actions. in accordance with Environmental Law. Nothing herein shal! create any
obligation on Lender for an Environmental Cleanup.

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NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:

22. Acceleration; Remedies. Lender shall give notice to Borrower prior to acceleration
following Borrower's breach of any covenant or agreement in this Security Instrument (but not
prior to acceleration under Section 18 unless Applicable Law provides otherwise). The notice shall
specify: (a) the default; (b) the action required to cure the default; (c) a date, not less than 30 days
from the date the notice is given te Borrower, by which the default must be cured; and (d) that
failure to cure the default on or before the date specified in the notice may result in acceleration of
the sums secured by this Security Instrument and sale of the Property. The notice shall further
inform Borrower of the right to reinstate after acceleration and the right to bring a court action to
assert the non-existence of a default or any other defense of Borrower to acceleration and sale. If
the default is not cured on or before the date specified in the notice, Lender at its option may
require immediate payment in full of all sums secured by this Security Instrument without further
demand and may invoke the STATUTORY POWER OF SALE and any other remedies permitted
by Applicable Law. Lender shall be entitled to collect all expenses incurred im pursuing the
remedies provided in this Section 22, including, but not limited to, reasonable attorneys’ fees and
costs of title evidence.

if Lender invokes the STATUTORY POWER OF SALE, Lender shall mail a copy of a
notice of sale to Borrower, and to other persons prescribed by Applicable Law, in the manner
provided by Applicable Law. Lender shall publish the notice of sale, and the Property shall be sold
in the manner prescribed by Applicable Law. Lender or its designee may purchase the Property at
any sale. The proceeds of the sale shall be applied in the following order: (a) to all expenses of the
sale, including, but not limited to, reasonable attorneys' fees; (b) to all sums secured by this Security
Instrument; and (c) any excess to the person or persons legally entitled to it.

23. Release. Upon payment of all sums secured by this Security Instrument, Lender shall
discharge this Security Instrument. Borrower shall pay any recordation costs. Lender may charge
Borrower a fee for releasing this Security Instrmment, but only if the fee is. paid to a third party for
services rendered and the charging of the fee is permitted under Applicable Law.

24. Waivers. Borrower waives all rights of homestead exemption in the Property and relinquishes
all rights of courtesy and dower in the Property.

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BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this
é Security Instrument and in any rider(s) executed by Borrower and regorded with it

Raymond Stiva /
Aidt. Li Ge/

Karin

 

 

[Space Below This Line For Acknowledgment]

 

Commonwealth of Massachusetts Bristol, ss:

On this 8th day ef November, 2005, before me, the undersigned notary public, personally ap cared d Raymond Silva and
Karin Silva, proved to me through satisfactory evidence of identification, which were

 

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to be the person whose name is signed on the preceding or attached document, and sciaowleiged to me that he/she/they
signed it voluntarily for its stated purpose. LL f Zoo “

hoses J. Quintin
Nouary Public

My Commission Expires: July 10, 200

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Exhibit A - Property Description

Closing date: ‘November 8, 2005
repent 246 Rock-O-Dundee Road, Dartmouth, Massachusetts 02748
Ss!

The land with any buildings thereon situated in Dartmouth,
Bristol County, Commonwealth of Massachusetts, bounded and
described as follows:

”

BEGINNING at the southeast corner of the land herein described
at a point in the westerly line of Rock O'Dundee Road, and at
the northeast cormer of Lot #4 as shown on plan of land
hereinafter nentioned;

thence SOUTH 87 degrées 96' 10° WEST in line of last-named lot
and Lot "E® as shown on said plan, one hundred eighty-eight and
91/100 (188.91) feet to’land now or formerly of Robert Mello;

thence NORTH 19 deqrees 26' 07" BAST in line of last-named land
and a stone wall, one hundred thirty-five and 64/100 (135.64)
feet to a point for a corner;

thence NORTH 87 degrees 08' 07" EAST in line of a way, one
hundred seven and 43/100 (107.43) feet to a point;

thence NORTHBASTERLY, BASTERLY and SOUTHEASTERLY in the arc of a
curve having a radius of thirty (30) feet, a distance of
forty-seven and 12/100 (47,12) feet to a point in the said line
of Rock O'Dundee Road;

thence SOUTH 2 degrees 51' 50% EAST-in line of said Rock

O'Dundee Road, ninety-five and 50/100 (95.50) feet to the point

of beginning. , aot

BBING shown as Lot 3 and Lot *D* on a plan entitled *Plan of % %
Land Rock O'Dundee Road, Dartmouth, Massachusetts", dated

December 30, 1977, Perkins Engineering, Inc., Middleborough,

Massachusetts, revised January 24, 1978, and filed in Bristol
County $.D. Registry of Deeds in Plan Rook 102,°Pagé 53.

For title see deed dated March 17m 2000 and recorded in Bristol County
S.D. Registry of Deeds; Book 4642, Page 21.

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EXHIBIT

  

 

 

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Case 1:21-cv-11831-PBS Document1-3 Filed 11/10/21 Page 34 Of elgmmssssssessssemmemerens
oe EXHIBIT

Bk: 12177 Pg: 177

  

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1ia?4 ——
Form 6468 (Ye) Department of the Treasury - Internal Revanua Service
(Rev, Rabenary 20041 Notice of Federal Tax Hen
Area: Serial Namnber thanal Uze by Recording Office

SMALL BUSINESS/SELF EMPLOYED AREA #1—
Lied Urit Phone: (200) 323-3903 2739S TOLT

 

 

As provided by secttow 6321, 6322, tad G423 of the Internal Revenue
Cade, we are giving a notice that taxes (inching lacerest and pemaldes)
have bean assessed agaluse che following-named taxpayer. We have made
a demand for payment of dils [abilicy, but it remains wapald. Therefore,
there is 4 lien In favor of the United Scares an all property and rights te

property
additianal penalties,

belonging to this taxpayer fer the antaunt of ches: taxes, and
Interest, and costs that may accrue.

Mame af Faxpayer RAYMOND & KARIN SILVA ,

 

Residence

246 ROCK ODUNDEE RD
S DARTMOUTH, MA 02748-1428

 

IMPORTANT RELEASE INFORMATION: For eich ssscosment fisted below, E

ontess notice of the lian is refiled by the date given in column {a}, this natica shalt, |
on tha day fofloying such data, oparmtée 3% = certificate af diease pe defined

in IRC G325{a).

   

 

Bk 12177
Dog: FLIEN 08/2H2017 02:1:

 

 

Pg. 177 Fy: | ot 4

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Kied of Tax Ending ideuiifying Number | Assessment ist Day 6 of Assessment
{a} (s} {c} (d} (2) (6
1040 [12/31/2014] xexX-xx-9036 [09/14/2015| 10/14/2025 1466.50
1040 §12/31/2015| XXX-Kx-9036 j09/19/2016| 10/19/2026 4997 36
Piaca of Filing as
Registry of Dee
Southern Brietel County Total. }$ 6463 .86
Hew Bedford, MA 02740 — .
Thi natice wae prepared and signed at MANHATTAN » NY _ on this
the Loch day ai Augquaet . 2017
Signawure Va | Bes sage 21-06-0900
for B.A. JaRLTON {800} 829-3903

   

 

 

 

. CHGTE: Cerificate af officer authorized by teine ta take gekoowistipraact ig nos masantial ta the validity of Monies of Federal Tax kan
Form 668¢ 8 }¢ch Hew. 2-204

Rev. ful. 71-488, $971 - 2 CB, 405)

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GAT. NO SQ0254
  
  
  
 

Case 1:21-cv-11831-PBS Document 1-3 Filed 11/10/21 Pag(s50

Bk: 12838 Pg: 186
CERTIFICATE OF VITAL RECORD

"The Commontuealth of Massachusetts
City of Pew Bedford

‘ Psp e reclerener cere

  

 

 

‘of Fitad Recovds and Ssattsiees ‘Seas File : F007 O46155
CERTIFIC: ATE OF DEATEE Revisierad # . {06th

 

 

  

 

  
 

Place ofDeait  ST.LUKES HOSPITAL, NEW BEDFORD, HA i

DateafDeath OCTOBER (0,207 - Lo Age FAXES Sex FEMALE

 

CotertNeme SILVA , KARIN --

 
  

AKL =~

Sumameat dich or ddoptirt LIEDENIANTE « Ea

 

Date ofBath JANUARY OF, 1946 . . Birtholace amen, GERMANY

 

 

PResdence 1474 SE MEMOBIAN, STREET, PORT ST. LUCIE. FLORIDA 3 “eas

 

OXCLDENT

  

WHITE , na CGH SCHOOL.GRADUGTE, OR GED

rial Tianes Cscupatonsinckeery
MARRIED BOMEMAKERO WN HOWE |

 

 

Tog Spouse — Lest, Firs, Maddie (Sacred at Birth ar Adoption} : Discadent: CS Ten SAY
SEN. EATMCND, ELV A: : NO
naa é Sree Lap 7 REE
LIEDEMANN, MARGARET {UNKNOWN) - GERMANY
Father? arent Wave ~ Lzst, First Made (Serres Birt or Aeiopneee] _ Birthplace.

   
  

 

 

 

 
  
 

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2] OFUS ERY TBEMA’ ERYTHEMATOSUS; HYPERTENS £0N “ NATURAL

3 Coos . - TmeafDeath: 4cE9 AM
lg wt a, " Resultefinjary: NO

  

 

 

Cerfifer SUIAN RAYASTHA, MiB . ° _ es 25254
dddr. WL PAGE STORET, NEW BEDFORD, MASSACHUS erts o2240

  

 

Funerat Licened Deninet BETTE A DUNN
Facilayitdd:. DARTMOUTIE FUNERAL HOME, DARTMOUTH, MASSACHUSETTS _

 

iat T3FT

 

Inter iditte Disposition REMOVAL PROM STATE

Date afimmedate Dipesticn OCTOBER I, 2017

PiacetAuicive ss

NEW ENGLAND CREMATION SMEVICES, BSTABUNE
| PWAY, CRANSTON, REGDE ISLAND 02920.

| Digte of Recor OCTOBER té, HiT

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Case 1:21-cv-11831-PBS Document1-3 Filed.11/10/21 Page 36 of 46

Bk: 12838 Pg: 188 Ge EXHIBIT

oC

 

/ KNOW ALL MEN BY THESE PRESENTS that I, Raymond Silva a.i.2. Raymond Siva, Sr.,
being unmaried, of 246 Rock-O-Dundée “Road, 5.. Dartmouth, Bristol County, MA 027468, for
consideration of love snd affection and One Dallar ($1.00), hereby grant to myself, Reymond Silva, Sr.
for my lifetime, with the fall power te mortgage, sel}, convey or otherwise encumber the prenuizes,
rentainder to Ryan Silva, of 246 Rock-O-Dundee Road, S. Dartmouth, MA 02748, Michele Silva, of 54
Calumet Street, New Bedford, MA 02744, and Raymond Silva, dr, of 9 Mormingside Avenue, Acushnet,
MA 02743, as tenants in common, no nolibe to, or assent by, the Grantée im ihis instrument or his/her
assigns shail be necessary in connection with any exercise of the tights retained by the Grantor’ in this
with quitclabe covenants,

the lands in Dartmouth, Bristol County, bounded and described as follows: .
SEE SCHEDULE A.
For Title of Raymond Silva a.k.a. Raymond Silva, Sr., see deed dated March 17, 2000, recorded in the

Bristol County Registry of Deeds in Book 4642, Page 21. Karin L. Silva is deceased. See Affidavit of
No Estate Tax Due and Death Certificate recorded herewith.

_ NO TITLEEXAMINATION
‘NO DOCUMENTARY STAMBS REQUIRED . /)
5 f

   

PROPERTY ADDRESS: 246 Rock-O-Dundee Rd, 8. Dartmouth, MA 02748

Bristol, 3. wo New Bedford August 15, 2008

On this dey, August 15, 2018, before me, the undersigned notary pablic, persomlly appeared Raymond
Silva a.b.8, Raymond Sifya, Sr, proved to me through satisfactory evidence of identification, which wan .
pemaorial knowledge, to be the person whose name is signed oi the preceding or attached document, and” *

 

 

acknowledged te me that he signed it voluntarily for its stated purpose, _.-—-, Bae :
we gh
nf ee see agss

   

Brandon ©. Weick, Notary Public

My Commission Expires: Fuly 26,2004 ..258b'g* 7
: ‘ fee Ne “
fall tot . , TI ES EM
Surprenant & Beneski, F.C. Ree yy
35 Amnold Street PR MEI 3

New Bedioad, MA 02740 Pe mt 5
Case 1:21-cv-11831-PBS Document1-3 Filed 11/10/21 Page 37 of 46

Bk: 12538 Pg: 189.

, _ SCHEDULE A
The land, with any buildings thereon, in Dartmouth, Bristol County, Commonwealth of
Massachusetts, bounded-and described as follows:

Beginning at the southeast comer of the land herem described at a point in the westerly line
of Rock O’Dundes Road, and at the northeast comer of Lot #4 as shown on pian of land
hereinafter mentioned, wi

Thence South 87 degrees 08 1” West in fine of last-named lot and Lot *E” ag shown oa
said plan, ome hundred eighty-eight and 91/100 (88.91) feet to land now or formerly of
Robert Mello;

Thence North 19 degrees 26° 07" East in line of last-named land and a stone wall, one
hundred thirty-five and 64/106 (135.64) feet to a point for a comer,

Thence North 87 degrees 08" 07” East in line of a way, one hundred seven and 43/100
(107.43) feet to a pom; " o

Thence Northeasterly, Easterly and Southeasterly in the are of a curve having 4 radius of
thirty (30) feet, a distance of forty-seven and 12/100 (47.12) feet to a point in the said line of
Rock O’ Dundee Road; oo

Thence South 2 degrees 51° 50° East in line of said Rock O’Dundee Road, ninery-five and
SO/100 (95.50) feet to the point of beginning,

Being shown as Lot 3 aod Lot “D” on a plan entitled “Pian of Land Rock O’Dundes Roa,
- Dartmouth, Massachusetts", dated December 30, 1977, Perkins Engineering, Ine.,
Middicborongh, Massachusetts, revised January 24, 1978, and filed im Bristol County §.D.
Registry of Deeds in Plan Book 102, Page 53.

PROPERTY ADDRESS: 246 Rock-(}-Dundee Rd, Dartmouth, MA 02748

This conveyance is made subject to and together with all rights, reservations, covenants,
easements and encumbrances of record insofar as the same are now in fore and applicable.
Case 1:21-cv-11831-PBS Document 1-3 Filed 11/10/21 Page 38 of 4

Bk: 13742 Pg: 109 - SEXHEIT |

Ht

 

Southern Bristol Registry of Deeds

Electronically Recorded Document

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Recording Information

Document Number 103175
Document Tvpe ‘CTF
Recorded Date : April O05. 2021
Recorded Time : 11:10:48 AM
Recorded Book and Paae 13742 / 109
Number of Paaesfincludina cover sheet) :3

Receipt Number : 124940
Recording Fee : $105.00

Southern Bristol Registry of Deeds
Sherrilynn M. Mello, Register
25 N 6" Street
New Bedford, MA 02740
508-993-2603
www.NewBedfordDeeds.com
Case 1:21-cv-11831-PBS Document 1-3 Filed 11/10/21 Page 39 of 46
Bk: 13742 Pg: 110

Commonwealth of Massachusetts

 

Registry af Vital Records ana Statistics State File@® = 1018 047072

 

 

 

CERTIFICATE OF DEATH | repiered 3099/9)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Place of Death ST. UUKES HOSPITAL, NEW BEDFORD. MA
DaleofDeath OCTOBER 17, 2018 Age 73 YRS Sex MALE
"| CurentNume SILVA , RAYMOND — os ee
Surname at Birth or Adoption SYLVA , : SSN
AKA =
§| Baie of Birth” DECEMBER 03, 1944 Béthplace " NEW BEDFORD, MASSACHUSEITS
‘WE Residencé’ 246 ROCK O'DUNDEE ROAD, DARTMOUTH, MASSACHUSETTS Q2748 oo.
“7G Pace ° , Edueation
8 WHITE HIGH SCHOOLGRADUATE OR GED
* | Martel Status: . co Occupation(indsiry ~— Ty oF
‘| Last Spouse — Last, First, Middle (Surname ai Birth or Adbglion) * ingen U5, Veteran (Most Recent)
SILVA, KARIN EMANN) NO
Mother/Parant Name ~ Last First Middle (Surname at Hirthor Adoption) Birthplace J
' ; SILVA, ZUEMIRA. (ALFREDO) - . ,MASSACHUSETTS.
Eather/Parent Naitia ~ Lash, Hirst: Middle (Sumameat Birth or Adoption} - Birthplace ° .
_] SILVA, MANUEL PERREIRA (SILVA) : MASS ACHUS ETTS
Part i. Case of Death - Sequentially list immediate cause then antecedent causes then underlying cause Interval beneeen onvet and death
2. immedtaia Gautse (Final anadiion sesuliingin daath) .
BACTEREMIA, — . — DAYS
&. Bes 0s or a & cunsequence att coe . .
| METASTATIC RENAL CANCER — YRS,
z ¢. Dug tp ar 64 a consequence of:
= 4. Dic w or asa consaqerncoah ~
Ope . . . 7 ~
=| Part dd. Other significant! conditions contribuling to death but nat resulting in underfying cause | | Manner of Death:
2} HYPERTENSION, CERERROVAS CULAR ACCIDENT, BENIGN PROSTATIC NATURAL. ,
2 BNPERFLASIA ; , |. | Time afDeaih: “09:01 AM
: / . Resultof injury; NO
Certifier KIRT! BASIL, MD Lic # 270461
_[4ddr, 1OLPAGE STREET, NEW BEDFORD, MASSACHUSETTS 02740
Funeral Licensee! Desimee BEY TE A DUNN Lit F317
= | Focility/dder. DARTMOUTH FUNERAL HOME, DARTMOUTH, MASSACHUSETTS
© | Immediate Dispasition REMOVAL, FROMSTATE
2 | Date of Inimeciate Disposition OCTOBER 22, 2018 .
2 | Place/dddress Le a So.
=| NEW ENGLAND CREMATION SERVICES, 25 STARLINE : Kfbnvens We» PP pcrmtecy
WAY, CRANSTON, RHODE ISLAND 02521
Date‘af Record OCTOBER 19, 2018
Date ofAmendment _ CLERK, CITY OF NEW BEDFORD
MAR 6
Date: & 2021
A true and exact copy

Shieh piede
Case 1:21-cv-11831-PBS Document 1-3 Filed 11/10/21 Page 40 of 46
Bk: 13742 Pg: 111

R-30! p.Z af SILVA SEN; 2018 647072
NEW BEDFORD 1099 ,

DART MOUTH 2018-271

STATE VOLIPG: é

 

IFS. war veteran, Speciwar/conpicys)

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Branch of military (most recent) Rankorganization/outfitimost recent)

Date extterad(most recent} Date Discharged (mast recent) Service Num bor(mest recent)
Place of Leatk Type Date of Pronouncement Uinte of Pronouncement
HOS PITAL ~ INPATIENT —_ =

RNINP/PA Proncuncemen® Name of RWNP/PA Pronouneng Death hick

NO _ ~
RNINP/PA Employing Agency or Instituion Name af Physicion or Medical Examiner notified

 

Was WE. Noufied? Provider in charga of patients care, ifnot certifier
NO —

 

 

Autopsy Performed? Findings avatlable for Cause? | Tobaceo coniributelo death? | Pregnancy Status, ifRmale
NO -—- NO —

 

 

 

Date of injury "Time of iryury Injury at Work? fffransporiation Injury, spect:

— — —

 

 

 

Place af infury Location/Adaress of Injury:

— vee

 

Describe Haw injury Ocourred

 

Expanded Race: WHITE
Etinicity: AMERICAN

 

rform cat Name . Relationship
RYAN SILVA SON

Adds. 246 ROCK O'DUNDEE ROAD, DARTMGUT H, MASS ACHUSETTS 02748

 

Date Disposition Pennit Issued OCTOBER 19, 2938 Beard afHealthaAgent’ DAMON 0. CHAPLIN
State Tracking No. 947072 Local Perm it No. 18-047072

 

 

 

 

 
   

 

LOCAL FILE NUMBER

1987634

cument1-3 Filed 11/10/21 Page 41 of 46

wst93 OO6 1686

RHODE ISLAND DEPARTMENT. THE . :
MEDICAL EXAMINER CERTIFY \TE OF DEATH STATE FILE NUMBER

t Coast Interi
Katharine E. Messier
Lincoln

Hi Schoo

ower
, Lincoln, Ritode

director to Me this certificate with Ine or Town Clerk at the Placa of Daath within 7 days.

 

 

 
Bk: 13968 Pg: 251 -

Southern Bristol Registry of Deeds

Electronically Recorded Document

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Recording Information

Document Number : 25351
Document Tyne ‘ DEED
Recorded Date ‘Auaust 24, 2024
Recorded Time : 09:33:59 AM
Recorded Book and Pade : 13968 / 251
Number of Pacesfincludina cover sheet) <5

Receipt Number ' 136314
Recording Fee (including excise) : $1,409.00

FHKE KEE KEK EK HE KKK EERE RK ERK KRER AKER AEE EK KEE

MASSACHUSETTS EXCISE TAX
Bristol ROD South 001

Date: 08/24/2021 09:33 AM

Ctrl# 034480 +8698 Doc# 00025351
Fee: $1.254.00 Cons: $275.000.00

RHR KK ER EK RK KEE KK IK RK KEK KERR KERR EKER EEE

Southern Bristol Registry of Deeds
Sherrilyan M. Mello, Register
25 N 6" Street
New Bedford, MA 02748
508-993-2603
www.New Bedford Deeds.com

 
Case 1:21-cv-11831-PBS Document 1-3 Filed 11/10/21 Page 43 of 46
Bk: 13968 Pq: 262

Sea Attached Afidavit

FORECLOSURE DEED

ts.91

WHEREAS, Raymond Silva and Karin Silva, did, by a certain Mortgage ven to St.
Anne's Credit Union of Fall River, Mass, darer! November 8, 2005 and recorded with the
Bristol County Seuthern District Registry of Deeds in Rook 7868, Page 6, convey the premises
heroin described to St, Anne’s Credit Union of Fall River, Mass., and whereas in and hy
said Mortgages, the grantee therein namod, or its assigns, were authorized and ampowered,
upon apy default € perfarmance or observance al the conditiva of said Mortgage. tn sell
the said promises with all impraverients that might be thereon. at puniic aucnon m
Dartmouth, Bristel Cousty, Massachusetts, first pubiishing a notice as therein required, and
to convey Ue same by proper deed or deeds to the purchaser or purchasers absolutely and
in fee simple; and whereas: and whereas there has been such default, and notice has been
published, and a sale has heen made, as will more particularly apnesr in and by the affidavit
hereto to be subjoined.

       

  

NOW, THEREFORE, know all men tha: St. Anne’s Credit Union of Fall River, Mass.
oresent holder of said Moriyays, by virtue and in exceution of the power contained in said
Martgage as aforesaid, and of every other power it Rerete enabling, acd in consideration of
the sum of Two Hundred Seventy-Five Thousand and 00/100 ($2 75,000.00) Dallars to
it paid by John Afonso Properties, LLC, the receipt whereof is hereby acknowledged da
hereby GRANT, BARGAIN, SELL, and CONVEY unte the said John Afonso Properties, LLC, a
Massachusetts limited lability company with a usual place of business at 17 Hicks Streets,
Gartmouth, Bristal County, Massachusetts 02747, all and singular the premises conveyed by
the aforesaid Martwage, namely:

Subject Property: 246 Rock O' Dundee Ruad, Suuth Dartmeuth, Massachusetis, 62747

The fund with any butidinas chereon situated in Dartmouth, Reistoi County.

Commonwaalth of Massachusetts, bounded and described ias follows:

BEGINNING at the southeast carner of the iand herain described ata poi i

B
the westerly line of Rack O'Dundce Road, and at the northeast corner of Lat
#4 as shown on piace uf land hereinatter mandoned:

   

 

 

 

thence SOUTH 87 degrees O8' 10” WEST in Hae of last-named let and Lot “2”
as shown on said plan. one hundred eighty-eight and 91/100 (188.91) fees tn
land now or furmerly of Robert Mello;

thence NORTH 19 degrees 26’ 07" EAST inline af last-named land and a stone
wall, one hundred thirty-five and 64/100 (135.64) fear to a point for a carmer:
thence NORTH B7 degrees O6' 07" LAST in ine af a way, ane hundrad seven
and 43/100 (197.43) teecto a poinu

thence NORTHEASTERLY, BASTERLY and SOCGTILASTURLY in the are of a
curve having a radius of thirty (30) feet, a distance ef farty-5
(47.22) feet to a point in ube said line of Rock O’Dundee Read;

   

mand 12/200

 
  

thence SOUTH 2 degrees 51° 50” EAST in line of said Hock O’Uundee Read,

ninety-five Acginning.

BEING shown as Lot ¥$ and “Loc Te 4

 

hand Sack

    
 

 

(Dundee Road, Nartmeuth, Mas dated yer 30, LO?7,
Perkins Engineering, Inc. Middicharough, Massachuset
1978, and filed in Bristol County 5.0. Registry af Deeds |

x}

35
Case 1:21-cv-11831-PBS Document 1-3 Filed 11/10/21 Page 44 of 46
Bk: 13968 Pg: 253

See Attached Attidavit

  
 

For tide, sea deed dated March 17, 2000 and recorged in Bristol County $2).
Registry of Deeds, Soult 4642, Page 21

TO HAVE ANP TO HOLD the same to the said John Afonso Properties, LLC and its
successors and assigns, to their awn use andl behaof forever

iN WETNESS WHEREOS, the said St Anne's €redit Union of Fall River, Mass., has
caused its corporate seal tn be herets affixed and these presents lu be signedjin tis name and
behall by Carlos A. DeCunha, Seaior Vice President, this May ot. Lutes

—_
in the Year TWO thousand and twentyedne.

ST. ANNE’S CREDIT UNION OF FALL RIVER, MASS.

fh |

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ii Ui i YA
LAL Up vi An (AB

A
Car! ag A. i ha. Senlor View President

oe os

COMMONWEALTH OF MASSACHUSETTS

COUNTY OF BRISTOL,

On this AS W_ day of “ Li A i _ 2021, before me, the undersigned notary
pubiic, personally appeared Carlos @. DeCunha, Senior Vice President of St. Anne’s Credit
Union of Fall River, Mass., who proved ta me through satisfactory evidence of
idenufication, which was «ph otograp thic identigication with s.pnature issued by a federal or
state governmental agency, 7 oath or affirrnation of a eredine witness, — dersonal
knowledge of the undersigned, co be the person whuse name ts signed on the preceding or

attached document(s}, and acknowledyed to me that he signed it voluntarily for its stated
purpose and acknuw ledge rhe same ta be his free uct and deed and che free act and dened of
St Anne’s Credit Union of Fall River, Wass., as af

     
 

 

    

2 LISA A. MEDEIROS r -
# ‘ Notary Publie E vouary Pubic:

3 ” Commanweatth of Raesachusetin F My Commussion }

My Gommiusion Expires Decamber t4, 2022 &

 

 

 

VIVE ey Wee rery
Case 1:21-cv-11831-PBS Document 1-3 Filed 11/10/21 Page 45 of 46
Bk: 13968 Pg: 254

See Foregoing Foreclosure Deed

 

I. Carlos A. DeCunha, Senior Vice President af St. Anne’s Credit Union of Fall
River, Mass, on oath depose and say, an behalf of the said St. Anmne’s Credit Union of Fall
River, Mass. that default. has bean made in the payment of the pringipal and interest
mentioned it (he candition or tye Mortgage above referred to, the sad orincinal and interest
not having been atthe ome when it became ¢ pavable, ov af any ime, paid or tendered to any
person authorized to receive the same; and that, pursuant to the provision uf said Mortgage
and to.the requirements of the Statuics ef the Commonwealth of Massachusetts, the said St,
Anne's Credit Union of Fall River, Mass. babi ned on May 31, 2021, June 7, 2021 and June
f4, 2021, in The Standard Times, a newspaper published in the County of Aristil,
Massachusetts and PurpOrsing © ro ba a nowspaper of general circulaUon in South Dartmeuth,
Bristol County, Massachuseus aforesaid notice of which the fullowing 1s a true capy

 

  

{See Exhibit "A" attached hereto and made a part hereof}

T certify that the provisions of the Massachuseils Genera! Laws, Chanter 244, Section
it, as amended were complied with by mailing a a copy yof the notice of sale by certified mail,
feturn receipt requested on May 23, 2021 and by mailing a copy of the nutice of sale

continuance on fune 22,2021 1a the Mortzagor and atners entitied ro notice thereof and that
the Mortaagor was fut in the military service on the date of sale or within one year after a
period of military service.

 

And { further depose and say that, pursuant te saia notce and at the time and place
therein appointed, the said dafaul. still cantinuing, upon the mortgaged premises at which
ime, the said St. Anne’s Credit Union of Fall River, Mass, said the premises conveyed by
said Mortgage at pabicauction hy Jay C. Kavowitz, a duty licensed auctioneer, to feha Afonsa
Properties, LL€ for the sum of Two Hundred Seventy-Five Thousand and 00/100
($275,000.00) Dollars, whieh augunt was bid by John Afonse Properties, LLC and was the
highest bid made herefor at said auction.

 

 

  

  

Witness my hand this 8 “day of

 

 

 

Carlo sé ‘, Tel cok a Sentor Vice President
COMMONWEALTH Of MASSACHUSETTS
COUNTY OF BRISTOL, ss.

On this _A3 day of __, 2021, before me, the undersigned notary
public, personally appeared Carla A. DeCunha, Senior Vice President of St. Anne’s Credit
Union of Fall River, Mass.. who proved to me through satisfactory cvidence of
identification, which was 7! photographic identification with signature issued by a federal or
§tate governmental agency, £ oath or affirmation of a credible wine: | personal
knowledge of Lhe undersigned, te be che person whose name is signed on the
auvached document(s}, and acknowledged to me that he signed 9 Le ‘
purpose and acknowledged the same to be his rachand dead
St. Anne’s Credit Union of Fall River, Mass. as aforesaid.

  
 

   

   

 

 
 
  

    

 
    
    

  

e ci
LS4 A. MEDEIROS A
Notary Public = y Publ -_™
Commommeatth of Massachusetts EGE Udale

My Commission Expires December 14, 2003 My Commission F fb

     
 

EXHIBIT A

Case 1:21-cv-11831-PBS Documenti-3 Filed 11/10/21

Bk: 13968 Pg: 255

 

 

MORTGARSE'S- SALE
oF aBAL 3taL

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